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 7                       UNITED STATES COURT FOR THE
                        CENTRAL DISTRICT OF CALIFORNIA
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10   ORLANDO GARCIA,                     Case No.: CV 21-2758-GW-GJSx

11
                                         ORDER ON ORDER TO SHOW CAUSE
                          Plaintiff,     RE LACK OF PROSECUTION
12   v.
13                                       Date: September 30, 2021
   BELL GARDENS HOSPITALITY,
                                         Time: 8:30 a.m.
14 LLC, a California Limited Liability   Courtroom: 9D, 9th Floor
   Company: and Does 1-10
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                                         Hon. George H. Wu
16                    Defendant.
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                     ORDER ON DEFENDANT’S MOTION TO DISMISS COMPLAINT
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 1         On July 27, 2021, this Court entered its Order dismissing the Plaintiff’s First
 2   Amended Complaint without prejudice. ECF No. 26. The Order provided, in part,
 3   that “Plaintiff must instead describe or submit what accessibility information was
 4   actually on the Defendant’s website, give at least a short statement on how that
 5   information is insufficient to satisfy the Reservation Rule, and how the inclusion of
 6   Defendant’s requested information would remedy the problem such that Defendant’s
 7   website would then satisfy the Reservation Rule.” Id. “Until Plaintiff has included
 8   such information in his complaint, he has failed to provide sufficient factual matter
 9   beyond legal conclusions to state a claim.”
10         No amended complaint having been filed, on September 14, this Court issued
11   an Order to Show Cause re Lack of Prosecution. Pursuant to the Court’s OSC, the
12   parties filed a joint statement on September 27. Plaintiff indicated that there was
13   nothing he could add to the First Amended Complaint and declined to amend.
14   Defendant requested that the First Amended Complaint now be dismissed with
15   prejudice. On September 30, 2021, this Court held a hearing on its Order to Show
16   Cause re Lack of Prosecution. ECF No. 30.
17         Based on the representations of the Plaintiff that he was declining to amend, the
18   Court hereby dismisses the First Amended Complaint with prejudice.
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           D.     Conclusion
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           The Court therefore GRANTS Defendants’ motion to dismiss the First
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     Amended Complaint and DISMISSES Plaintiff’s claims with prejudice.
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     IT IS SO ORDERED.
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     Dated: October 19, 2021                       ________________________________
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                                                   HON. GEORGE H. WU,
26                                                 U.S. DISTRICT JUDGE
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                       ORDER ON DEFENDANT’S MOTION TO DISMISS COMPLAINT
